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                                                                  FILED IN OPEN COURT
                                                                        U.S.D.C. Atlanta
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                                                                KEVIN P.            ,.   ,   -


                IN THE UNITED STATES DISTRICT COURT               By:      ~pu Cle
urdGIN         FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


   UNITED STATES OF AMERICA                  Criminal Action No.

         v.                                  1 :21-MJ-700-RDC
   Duwaun Na’jee Williams


                                    Order

   Having read and considered the government’s Motion to Unseal Complaint
and application and for good cause shown,
   It is hereby ORDERED th t the Complaint and application be unsealed.

   SO ORDERED this 7~~day of             ____       20




                                    ALAN J. B AVER AN
                                    UNITED STATES MAGISTRATE JUDGE


Presented by:
Theodore S. Hertzberg, Assistant United States Attorney
